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 3   (916) 444-3994
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 4
     Attorney for Defendant
 5
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-06-0441 GEB
                                                      )
10
                                                      )
            Plaintiff,                                )       STIPULATION AND
11
                                                      )       ORDER CONTINUING STATUS
     v.                                               )       CONFERENCE
12
                                                      )
     EFRAIN MEDINA, et al,                            )
13
                                                      )
                                                      )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                               )
                                                      )
15
                                                      )
                                                      )
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            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Wendell Stewart, Candace A.
20
     Fry, Esq., counsel for defendant Valerie White, William E. Bonham, Esq., counsel for defendant
21
     Aaron Potts, Timothy E. Warriner, Esq., and counsel for defendant Isauro Jauregui Catalan,
22
     Edward C. Bell, Esq., that the status conference presently set for September 11, 2009 be
23
     continued to October 16, 2009, at 9:00 a.m., thus vacating the presently set status conference.
24
            Counsel for the parties agree that this is an appropriate exclusion of time within the
25
     meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
26
     time for effective preparation) and Local Code T4, and agree to exclude time from the date of the
27
     filing of the order until the date of the status conference, October 16, 2009.
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     IT IS SO STIPULATED.


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 1
     Dated: September 8, 2009                         /s/ John R. Manning
 2                                                   JOHN R. MANNING
                                                     Attorney for Defendant
 3                                                   Ricardo Venegas
 4
     Dated: September 8, 2009                        /s/ Candace A. Fry
 5                                                   CANDACE A. FRY
                                                     Attorney for Defendant
 6                                                   Wendell Stewart
 7
     Dated: September 8, 2009                        /s/ William E. Bonham
 8                                                   WILLIAM E. BONHAM
                                                     Attorney for Defendant
 9                                                   Valerie White
10
     Dated: September 8, 2009                         /s/ Edward C. Bell
11                                                   EDWARD C. BELL
                                                     Attorney for Defendant
12
                                                     Isauro Jauregui Catalan
13
     Dated: September 8, 2009                        /s/ Timothy E. Warriner
14                                                   TIMOTHY E. WARRINER
                                                     Attorney for Defendant
15
                                                     Aaron Potts
16
     Dated: September 8, 2009                        Lawrence Brown
17                                                   Acting United States Attorney
18
                                               by:   /s/ Jill M. Thomas
19                                                   JILL M. THOMAS
                                                     Assistant U.S. Attorney
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              Case 2:06-cr-00441-DAD Document 307 Filed 09/16/09 Page 3 of 3


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 9
     UNITED STATES OF AMERICA,                      ) No. CR-S-06-0441 GEB
                                                    )
10
                                                    )
            Plaintiff,                              ) ORDER CONTINUING STATUS
11
                                                    ) CONFERNCE
     v.                                             )
12
                                                    )
     EFRAIN MEDINA, et al.,                         )
13
                                                    )
                                                    )
14          Defendants.                             )
                                                    )
15
                                                    )
                                                    )
16

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            GOOD CAUSE APPEARING, it is hereby ordered that the September 11, 2009 status
19
     conference be continued to October 16, 2009 at 9:00 a.m. I find that the ends of justice warrant
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     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
21
     for effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
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     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
23
     Local Code T4 from the date of this order to October 16, 2009.
24
     IT IS SO ORDERED.
25
     Dated: 9/16/09
26                                               GARLAND E. BURRELL, JR.
27
                                                 United States District Judge

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